






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00269-CV






Jonathan Smith, Appellant


v.


Camden Ridgecrest, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY

NO. C-1-CV-11-013433, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Jonathan Smith has failed to prosecute his appeal.  Smith's brief was due in this Court
on May 21, 2012, and is overdue.  On July 10, 2012, this Court's clerk sent Smith a notice informing
him that his brief was overdue and cautioned that his appeal could be dismissed for want of
prosecution unless he filed a response reasonably explaining his failure to file a brief.  The response
was due by July 20, 2012.  Although this notice has not been returned as undeliverable, previous
notices sent to Smith have been.

		We have been unable to locate a forwarding address for Smith.  Nor have we received
any communication from him in the more than three months since his notice of appeal was filed. 
Because Smith has not filed his brief, responded to the July 10, 2012 notice, provided this Court with
a means to reach him, nor contacted this Court in any manner since filing his notice of appeal, we
dismiss the appeal for want of prosecution.  See Tex. R. App. P. 42.3(b), (c).



						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed for Want of Prosecution

Filed:   August 10, 2012


